Case 1:21-cv-00965-TJM-TWD Document 3 Filed 08/27/21 Page 1of1

, DISTRICT COURT - ND. OF N.Y.

—

     
    

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

AT O'CLOCK
John M. Domurad, Clerk - Albany
Plaintiff(s),

-VS- Civil Case No. La CV We
Ge fo n| TY

ain Irondle/ Defendant(s)

 

MOTION FOR APPOINTMENT OF COUNSEL
@? | hereby request a court-appointed attorney to represent me in this action.

2. | have contacted the following attorneys in my effort to obtain counsel:

Ehue Conteed yah attemgf tat Gok Ao help

 

 

 

NOTE: You must first attempt to find an attorney on your own before you file a motion
for appointment of counsel with the Court. See Terminate Control Corp. v.
Horowitz, 28 F.23d 1335 (2d Cir. 1994)

3. | have attached to this motion the correspondence that | have received
from the attorneys listed above.

4. The reasons | believe | should be appointed counsel pro bono are as follows:

Toh Case no Artefee wart fo here

 

 

| declare under penalty of perjury that the foregoing is true and correct.

ated: x 7 1O?| TY
Dated Pp } ThobtS ( Gt 1

Signature of Plaintiff
